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                         IN THE UNITED STATES BANKRUPTCY COURT

                             FOR THE DISTRICT OF DELAWARE


In re:
RTI HOLDING COMPANY, LLC,                         Chapter 11
                 Debtor.                          Case No. 20-12456



In re:
RUBY TUESDAY, INC.,                               Chapter 11
                                                  Case No. 20-12457
                 Debtor.
In re:
RUBY TUESDAY, LLC,                                Chapter 11
                 Debtor.                          Case No. 20-12458

In re:
RTBD, LLC,                                        Chapter 11
                                                  Case No. 20-12461
                Debtor.
In re:
RT OF CARROLL COUNTY, LLC,                        Chapter 11
                                                  Case No. 20-12462
                 Debtor.
In re:
RT DENVER FRANCHISE, LP,                          Chapter 11
                                                  Case No. 20-12465
                 Debtor.
In re:
RT DETROIT FRANCHISE, LLC                         Chapter 11
                                                  Case No. 20-12468
                 Debtor.
In re:
RT DISTRIBUTING, LLC,                             Chapter 11
                 Debtor.                          Case No. 20-12471



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In re:
RT FINANCE, LLC,                                      Chapter 11
                                                      Case No. 20-12473
                 Debtor.
In re:
RT FL GIFT CARDS, INC.,                               Chapter 11
                                                      Case No. 20-12476
                 Debtor.
In re:
RT FLORIDA EQUITY, LLC,                               Chapter 11
                                                      Case No. 20-12480
                 Debtor.
In re:
RT FRANCHISE ACQUISITION, LLC,                        Chapter 11
                                                      Case No. 20-12484
                 Debtor.
In re:
RT OF FRUITLAND, INC.,                                Chapter 11
                                                      Case No. 20-12487
                 Debtor.
In re:
RT INDIANAPOLIS FRANCHISE, LLC,                       Chapter 11
                                                      Case No. 20-12492
                 Debtor.
In re:
RT JONESBORO CLUB,                                    Chapter 11
                                                      Case No. 20-12495
                 Debtor.
In re:
RT KCMO FRANCHISE, LLC,                               Chapter 11
                                                      Case No. 20-12500
                 Debtor.
In re:
RT KENTUCKY RESTAURANT HOLDINGS,                      Chapter 11
LLC,                                                  Case No. 20-12503
                 Debtor.



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In re:
RT LAS VEGAS FRANCHISE, LLC,                          Chapter 11
                                                      Case No. 20-12460
                 Debtor.

In re:
RT LONG ISLAND FRANCHISE, LLC,                        Chapter 11
                                                      Case No. 20-12464
                 Debtor.
In re:
RT OF MARYLAND, LLC,                                  Chapter 11
                                                      Case No. 20-12489
                 Debtor.
In re:
RT MICHIANA FRANCHISE, LLC,                           Chapter 11
                                                      Case No. 20-12466
                 Debtor.
In re:
RT MICHIGAN FRANCHISE, LLC,                           Chapter 11
                                                      Case No. 20-12470
                 Debtor.
In re:
RT MINNEAPOLIS FRANCHISE, LLC,                        Chapter 11
                                                      Case No. 20-12474
                 Debtor.
In re:
RT MINNEAPOLIS HOLDINGS, LLC,                         Chapter 11
                                                      Case No. 20-12477
                 Debtor.
In re:
RT NEW ENGLAND FRANCHISE, LLC,                        Chapter 11
                                                      Case No. 20-12479
                 Debtor.
In re:
RT NEW HAMPSHIRE RESTAURANT                           Chapter 11
HOLDINGS, LLC,                                        Case No. 20-12482
                 Debtor.



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In re:
RT NEW YORK FRANCHISE, LLC,                           Chapter 11
                                                      Case No. 20-12485
                 Debtor.
In re:
RT OMAHA FRANCHISE, LLC,                              Chapter 11
                                                      Case No. 20-12490
                 Debtor.
In re:
RT OMAHA HOLDINGS, LLC,                               Chapter 11
                                                      Case No. 20-12493
                 Debtor.
In re:
RT ONE PERCENT HOLDINGS, LLC,                         Chapter 11
                                                      Case No. 20-12498
                 Debtor.
In re:
RT ONE PERCENT HOLDINGS II, LLC,                      Chapter 11
                                                      Case No. 20-12496
                 Debtor.
In re:
RT ORLANDO FRANCHISE, LP,                             Chapter 11
                                                      Case No. 20-12502
                 Debtor.
In re:
RT RESTAURANT SERVICES, LLC,                          Chapter 11
                 Debtor.                              Case No. 20-12505

In re:
RT SOUTH FLORIDA FRANCHISE, LP,                       Chapter 11
                                                      Case No. 20-12506
                 Debtor.
In re:
RT SOUTHWEST FRANCHISE, LLC,                          Chapter 11
                                                      Case No. 20-12459
                 Debtor.




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In re:
RT ST. LOUIS FRANCHISE, LLC,                          Chapter 11
                                                      Case No. 20-12463
                 Debtor.
In re:
RT TAMPA FRANCHISE, LP,                               Chapter 11
                                                      Case No. 20-12467
                 Debtor.
In re:
RE WESTERN MISSOURI FRANCHISE, LLC,                   Chapter 11
                                                      Case No. 20-12472
                 Debtor.
In re:
RT WEST PALM BEACH FRANCHISE, LP,                     Chapter 11
                                                      Case No. 20-12469
                 Debtor.
In re:
RTTA, LP,                                             Chapter 11
                                                      Case No. 20-12478
                 Debtor.
In re:
RTT TEXAS, INC.,                                      Chapter 11
                                                      Case No. 20-12475
                 Debtor.
In re:
RTTT, LLC,                                            Chapter 11
                                                      Case No. 20-12481
                 Debtor.
In re:
RUBY TUESDAY OF ALLEGANY COUNTY,                      Chapter 11
INC.,                                                 Case No. 20-12483
                 Debtor.
In re:
RUBY TUESDAY OF BRYANT, INC.,                         Chapter 11
                                                      Case No. 20-12486
                 Debtor.



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In re:
RUBY TUESDAY OF COLUMBIA, INC.,                           Chapter 11
                                                          Case No. 20-12488
                 Debtor.
In re:
RUBY TUESDAY OF FREDERICK, INC.,                          Chapter 11
                                                          Case No. 20-12491
                 Debtor.
In re:
RUBY TUESDAY OF LINTHICUM, INC.,                          Chapter 11
                                                          Case No. 20-12494
                 Debtor.
In re:
RUBY TUESDAY OF MARLEY STATION, INC., Chapter 11
                                                          Case No. 20-12497
                 Debtor.
In re:
RUBY TUESDAY OF POCOMOKE CITY, INC.,                      Chapter 11
                                                          Case No. 20-12499
                 Debtor.
In re:
RUBY TUESDAY OF RUSSELLVILLE, INC.,                       Chapter 11
                                                          Case No. 20-12501
                 Debtor.
In re:
RUBY TUESDAY OF SALISBURY, INC.,                          Chapter 11
                                                          Case No. 20-12504
                 Debtor.


                   DEBTORS’ MOTION FOR ENTRY OF AN ORDER
              DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES

         The above-captioned affiliated debtors and debtors in possession (collectively, the

“Debtors”) hereby move (the “Motion”) the Court, by and through their undersigned counsel, for

entry of an order, substantially in the form of the proposed order attached hereto as Exhibit A,

directing joint administration of their chapter 11 cases for procedural purposes only and granting


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related relief. In support of this Motion, the Debtors rely on and incorporate by reference the

Declaration of Shawn Lederman, Chief Executive Officer, in Support of First Day Pleadings (the

“First Day Declaration”),1 filed concurrently herewith. In further support of this Motion, the

Debtors, by and through their undersigned counsel, respectfully represent:

                                Jurisdiction, Venue, and Predicates for Relief

           1.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334(b) and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

           2.       The statutory bases for the relief requested herein are Bankruptcy Rule 1015 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 1015-1 of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District

of Delaware (the “Local Rules”).

           3.       Further, pursuant to Local Rule 9013-1(f), the Debtors hereby consent to the entry

of a final judgment or order in connection with this Motion if it is determined that this Court

cannot—absent the consent of the parties—enter such final judgment or order consistent with

Article III of the United States Constitution.

                                                     Background

           4.       On the date hereof (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code. The Debtors are authorized to operate their

businesses as debtors in possession pursuant to sections 1107 and 1108 of the Bankruptcy Code.

No creditors’ committee has been appointed by the Office of the United States Trustee for the




1
    Capitalized terms used but not defined in this Motion have the meanings used in the First Day Declaration.
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District of Delaware (the “U.S. Trustee”) in these chapter 11 cases. No trutee or examiner has

been appointed in these chapter 11 cases.

          5.       The Debtors develop, operate, and franchise casual dining restaurants in the United

States, Guam, and five foreign countries under the Ruby Tuesday® brand. The company-owned

and operated restaurants (i.e., non-franchise) are concentrated primarily in the Southeast,

Northeast, Mid-Atlantic and Midwest regions of the United States.

          6.       The factual background regarding the Debtors, including their current and historical

business operations and the events precipitating the chapter 11 filings, is set forth in the First Day

Declaration filed concurrently herewith and fully incorporated herein by reference.2

                                                  Relief Requested

          7.       By this Motion, pursuant to Bankruptcy Rule 1015(b) and Local Rule 1015-1, the

Debtors request entry of an order, substantially in the form attached as Exhibit A, directing

procedural consolidation and joint administration of these chapter 11 cases.

          8.       In addition, the Debtors request that the caption of their chapter 11 cases in all

pleadings and notices in the jointly administered cases be as follows:

                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

RTI Holding Company, LLC, et al.,1                               Case No. 20- 12456

                                          Debtors.               Jointly Administered

1 The Debtors in these chapter 11 cases and the last four digits of each Debtor’s U.S. tax identification number are as
follows: RTI Holding Company, LLC (4966); Ruby Tuesday, Inc. (5239); Ruby Tuesday, LLC (1391); RTBD, LLC
(6505); RT of Carroll County, LLC (8836); RT Denver Franchise, L.P. (2621); RT Detroit Franchise, LLC (8738); RT
Distributing, LLC (6096); RT Finance, LLC (7242); RT FL Gift Cards, Inc. (2189); RT Florida Equity, LLC (7159);
RT Franchise Acquisition, LLC (1438); RT of Fruitland, Inc. (1103); RT Indianapolis Franchise, LLC (6016); RT
Jonesboro Club (2726); RT KCMO Franchise, LLC (7020); RT Kentucky Restaurant Holdings, LLC (7435); RT Las
Vegas Franchise, LLC (4969); RT Long Island Franchise, LLC (4072); RT of Maryland, LLC (7395); RT Michiana
Franchise, LLC (8739); RT Michigan Franchise, LLC (8760); RT Minneapolis Franchise, LLC (2746); RT

2
    Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the First Day Declaration.
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Minneapolis Holdings, LLC (7189); RT New England Franchise, LLC (4970); RT New Hampshire Restaurant
Holdings, LLC (7438); RT New York Franchise, LLC (1154); RT Omaha Franchise, LLC (7442); RT Omaha
Holdings, LLC (8647); RT One Percent Holdings, LLC (6689); RT One Percent Holdings II, LLC (2817); RT Orlando
Franchise, LP (5105); RT Restaurant Services, LLC (7283); RT South Florida Franchise, LP (3535); RT Southwest
Franchise, LLC (9715); RT St. Louis Franchise, LLC (6010); RT Tampa Franchise, LP (5290); RT Western Missouri
Franchise, LLC (6082); RT West Palm Beach Franchise, LP (0359); RTTA, LP (0035); RTT Texas, Inc. (2461);
RTTT, LLC (9194); Ruby Tuesday of Allegany County, Inc. (8011); Ruby Tuesday of Bryant, Inc. (6703); Ruby
Tuesday of Columbia, Inc. (4091); Ruby Tuesday of Frederick, Inc. (4249); Ruby Tuesday of Linthicum, Inc. (8716);
Ruby Tuesday of Marley Station, Inc. (1641); Ruby Tuesday of Pocomoke City, Inc. (0472); Ruby Tuesday of
Russellville, Inc. (1601); and Ruby Tuesday of Salisbury, Inc. (5432). The Debtors’ mailing address is 333 East
Broadway Ave., Maryville, TN 37804.

        9.       The Debtors also seek waiver of the requirements of section 342(c)(1) of the

Bankruptcy Code and Bankruptcy Rules 1005 and 2002(n) that the case caption on pleadings and

notices in these cases contain the name, tax identification number, and address of each Debtor and

any names used by each Debtor in the previous eight years. As an alternative to including this

information in each caption, the Debtors propose to include the following footnote to each

pleading filed and notice mailed by the Debtors, listing the Debtors in these chapter 11 cases and

the last four digits of their tax identification numbers along with the Debtors’ mailing address:

The Debtors in these chapter 11 cases and the last four digits of each Debtor’s U.S. tax
identification number are as follows: The Debtors in these chapter 11 cases and the last four digits
of each Debtor’s U.S. tax identification number are as follows: RTI Holding Company, LLC
(4966); Ruby Tuesday, Inc. (5239); Ruby Tuesday, LLC (1391); RTBD, LLC (6505); RT of
Carroll County, LLC (8836); RT Denver Franchise, L.P. (2621); RT Detroit Franchise, LLC
(8738); RT Distributing, LLC (6096); RT Finance, LLC (7242); RT FL Gift Cards, Inc. (2189);
RT Florida Equity, LLC (7159); RT Franchise Acquisition, LLC (1438); RT of Fruitland, Inc.
(1103); RT Indianapolis Franchise, LLC (6016); RT Jonesboro Club (2726); RT KCMO
Franchise, LLC (7020); RT Kentucky Restaurant Holdings, LLC (7435); RT Las Vegas Franchise,
LLC (4969); RT Long Island Franchise, LLC (4072); RT of Maryland, LLC (7395); RT Michiana
Franchise, LLC (8739); RT Michigan Franchise, LLC (8760); RT Minneapolis Franchise, LLC
(2746); RT Minneapolis Holdings, LLC (7189); RT New England Franchise, LLC (4970); RT
New Hampshire Restaurant Holdings, LLC (7438); RT New York Franchise, LLC (1154); RT
Omaha Franchise, LLC (7442); RT Omaha Holdings, LLC (8647); RT One Percent Holdings,
LLC (6689); RT One Percent Holdings II, LLC (2817); RT Orlando Franchise, LP (5105); RT
Restaurant Services, LLC (7283); RT South Florida Franchise, LP (3535); RT Southwest
Franchise, LLC (9715); RT St. Louis Franchise, LLC (6010); RT Tampa Franchise, LP (5290); RT
Western Missouri Franchise, LLC (6082); RT West Palm Beach Franchise, LP (0359); RTTA, LP
(0035); RTT Texas, Inc. (2461); RTTT, LLC (9194); Ruby Tuesday of Allegany County, Inc.
(8011); Ruby Tuesday of Bryant, Inc. (6703); Ruby Tuesday of Columbia, Inc. (4091); Ruby
Tuesday of Frederick, Inc. (4249); Ruby Tuesday of Linthicum, Inc. (8716); Ruby Tuesday of
Marley Station, Inc. (1641); Ruby Tuesday of Pocomoke City, Inc. (0472); Ruby Tuesday of


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Russellville, Inc. (1601); and Ruby Tuesday of Salisbury, Inc. (5432). The Debtors’ mailing
address is 333 East Broadway Ave., Maryville, TN 37804.


        10.      The Debtors also request that the Court make separate docket entries in each of the

Debtors’ chapter 11 cases (except that of RTI Holding Company, LLC), substantially similar to the

following:

                 An order has been entered in this case consolidating this case with
                 the case of RTI Holding Company, LLC (Case No. 20-12456) for
                 procedural purposes only and providing for its joint administration in
                 accordance with the terms thereof. The docket in Case No. 20-12456
                 should be consulted for all matters affecting this case.

                                      Basis for Relief Requested

        11.      Bankruptcy Rule 1015(b) provides, in relevant part, that “[i]f . . . two or more

petitions are pending in the same court by or against . . . a debtor and an affiliate, the court may

order a joint administration of the estates.” Fed. R. Bankr. P. 1015(b). The Debtors are “affiliates”

of each other as that term is defined in section 101(2) of the Bankruptcy Code, as RTI Holding

Company, LLC, directly or indirectly owns 100% of the stock or membership interests in, or

otherwise controls, the other Debtors. 11 U.S.C. § 101(2). Further, the Debtors comprise a single

business with highly integrated operations that rely on an interconnected network of suppliers,

vendors and customers. Thus, this Court is authorized to consolidate the Debtors’ cases for

procedural purposes.

        12.      Local Rule 1015-1 provides additional authority for the Court to order joint

administration of these chapter 11 cases:

                 An order of joint administration may be entered, without notice and
                 an opportunity for hearing, upon the filing of a motion for joint
                 administration pursuant to Fed. R. Bankr. P. 1015, supported by an
                 affidavit, declaration or verification, which establishes that the joint
                 administration of two or more cases pending in the Court under title
                 11 is warranted and will ease the administrative burden for the Court
                 and the parties. An order of joint administration entered in
                 accordance with this Local Rule may be reconsidered upon motion
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                 of any party in interest at any time. An order of joint administration
                 under this Local Rule is for procedural purposes only and shall not
                 cause a “substantive” consolidation of the respective debtors’ estates.

Del. Bankr. L.R. 1015-1.

        13.      The First Day Declaration establishes that joint administration of the Debtors’ cases

is warranted because it will ease the administrative burden on the Court and all parties in interest.

Joint administration of the Debtors’ cases will eliminate the need for duplicate pleadings, notices,

and orders in each of the respective dockets and will save the Court, the Debtors, and other parties

in interest substantial time and expense when preparing and filing such documents. Further, joint

administration will protect parties in interest by ensuring that they will be apprised of the various

motions filed with the Court with respect to each of the Debtors’ cases. Therefore, joint

administration of the Debtors’ cases is appropriate under Bankruptcy Rule 1015(b) and Local Rule

1015-1.

        14.      Joint administration will not adversely affect the Debtors’ respective constituencies

because this Motion seeks only administrative, not substantive consolidation of the Debtors’

estates. Parties in interest will not be harmed by the relief requested; instead, parties in interest

will benefit from the cost reductions associated with the joint administration of these chapter

11 cases. Accordingly, the Debtors submit that the joint administration of these chapter 11

cases is in the best interests of their estates, their creditors, and all other parties in interest.

        15.      Finally, the Debtors submit that use of the simplified caption, without reference to

the Debtors’ full tax identification numbers, addresses, and previous names, will eliminate

cumbersome and confusing procedures and ensure uniformity of pleading identification. Other

case-specific information will be listed in the petitions for the respective Debtors and such

petitions are publicly available and will be provided by the Debtors upon request. Therefore, the



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Debtors submit the policies behind the requirements of section 342(c)(1) of the Bankruptcy Code

and Bankruptcy Rules 1005 and 2002(n) have been fully satisfied.

                                                  Notice

        16.      Notice of this Motion shall be given to the following parties or, in lieu thereof, to

their counsel, if known: (a) the Office of the United States Trustee; (b) Goldman Sachs Specialty

Lending Group, LP (as administrative and collateral agent); and (c) the Debtors’ fifty largest

unsecured creditors on a consolidated basis. As the Motion is seeking “first day” relief, within two

business days after the hearing on the Motion, the Debtors will serve copies of the Motion and any

order entered respecting the Motion as required by Del. Bankr. LR 9013-1(m). The Debtors

submit that, in light of the nature of the relief requested, no other or further notice need be given.

                                           No Prior Request

        17.      The Debtors have not made any prior motion for the relief sought in this Motion to

this Court or any other.




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        WHEREFORE, the Debtors respectfully request entry of an order granting the relief

requested in its entirety and any other relief as is just and proper.

Dated: October 7, 2020                         PACHULSKI STANG ZIEHL & JONES LLP
       Wilmington, Delaware


                                               /s/ James E. O’Neill
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                                               Malhar S. Pagay (CA Bar No. 189289)
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                                               [Proposed] Counsel to the Debtors and Debtors in
                                               Possession




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